

ORDER

PER CURIAM:
AND NOW, this 30th day of November, 1995, upon consideration of the Report and *881Recommendations of the Disciplinary Board dated October 18,1995, it is hereby
ORDERED that WILLIAM J. PER-RONE be and he is DISBARRED, retroactive to September 1, 1993, from the Bar of this Commonwealth and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
MONTEMURO, J., participates by designation as a senior judge as provided by Pa.R.J.A. No. 701(f).
